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                           CERTIFICATE OF SERVICE
 Case Name: Jose Chavez, et al v. Rob          No. 3:19-cv-01226-L-AHG
            Bonta, California Attorney General

      I hereby certify that on April 15, 2025, I electronically filed the following
 documents with the Clerk of the Court by using the CM/ECF system:
 AMENDED NOTICE OF APPEAL FROM A JUDGMENT OR ORDER OF
 THE UNITED STATES DISTRICT COURT
 ATTACHEMENT A – CORRECTED FORM 1 AND FORM 6
        I certify that all participants in the case are registered CM/ECF users and
 that service will be accomplished by the CM/ECF system. I declare under penalty
 of perjury under the laws of the State of California the foregoing is true and correct
 and that this declaration was executed on April 15, 2025, in Carlsbad, California.

       John W. Dillon                                       /s/ John W. Dillon
       Declarant                                            Signature
